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     Debtor 1       DAVID W HASKIN 
     Debtor 2        
     United States Bankruptcy Court for the: District of Colorado 
     Case Number: 15‐17348 MER 

  
 Form 4100N 
  
 Notice of Final Cure Payment                                                                                     10/15 
  
 According to Bankruptcy Rule 3002.1 (f), the trustee gives notice that the amount required to 
 cure the prepetition default in the claim below has been paid in full and the debtor has 
 completed all payments under the plan. 
  
 Part 1: Mortgage Information                                                        
                                                                                    Court Claim No.:
 Name of Creditor:  SHELLPOINT MORTGAGE SERVICING                                   002    
                                                                                     
 Last 4 digits of any number you use to identify the debtor's account:       2210  
 Property Address:     437 W 116TH PLACE, NORTHGLENN, CO 80234
                                                                                     
                                                                                     
  
 Part 2: Cure Amount                                                            
 Total cure disbursements made by the trustee:                                 Amount 
                                                                                
     (a) Allowed prepetition arrearage:                                                     $24,887.63
     (b) Prepetition and post‐petition arrearage paid by the trustee per 
         the Modified Plan, dkt. 102:                                                       $19,080.90
     (c) Amount of post‐petition fees, expenses, and charges 
         recoverable under Bankruptcy Rule 3002.1 (c):                                               $
     (d) Amount of post –petition fees, expenses, and charges 
         recoverable under Bankruptcy Rule 3002.1 (c) and paid by the 
         trustee:                                                                                    $
     (e) Allowed post‐petition arrearage:                                                            $
     (f) Post‐petition arrearage paid by the trustee:                                                $
     (g) Total:  Add lines b, d, and f.                                                     $19,080.90
                                                                                




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 DAVID W HASKIN                                                     Case Number: 15‐17348 MER 
  
  

  
 Part 3: Post‐petition Mortgage payment   
 Check one: 
         ☐      Mortgage is paid through the trustee.         
                Current monthly mortgage payment             $________________ 
                The next post‐petition payment is due on:          _______/______/______ 
                                                                     MM           DD         YYYY 
         ☒      Mortgage is paid directly by the debtor. 
         
  
 Part 4: A Response Is Required By Bankruptcy Rule 3002.1(g) 
  
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor, their counsel, 
 and the trustee, within 21 days after service of this notice, a statement indicating whether the 
 creditor agrees that the debtor has paid in full the amount required to cure the default and 
 stating whether the debtor has (i) paid all outstanding post‐petition fees, costs, and escrow 
 amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, is current on all 
 post‐petition payments as of the date of the response. Failure to file and serve the statement 
 may subject the creditor to further action of the court, including possible sanctions 
  
 To assist in reconciling the claim, a history of payments made by the trustee is attached to 
 copies of this notice sent to the debtor and the creditor. 
  
                     X__/s/ Adam M. Goodman________________________           Date    6/29/2018 
                        Adam M. Goodman 
  
 Address                Chapter 13 Trustee 
                        PO Box 1169 
                        Denver, CO 80201 
  
 Contact Phone (303) 830‐1971                       Email   __mail@ch13colorado.com_____ 
  




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 DAVID W HASKIN                                                    Case Number: 15‐17348 MER 
  
  

                                         CERTIFICATE OF SERVICE 
                                                      
        The undersigned certifies that on June 29, 2018, I served by prepaid first class mail a 
 copy of the Notice of Final Cure Payment on all interested parties at the following addresses: 
  
  
 MTGLQ INVESTORS, L.P.             DAVID W HASKIN                   DUSTIN J. KLEIN 
 SHELLPOINT MORTGAGE               437 W 116TH PL                   THE CULPEPPER LAW FIRM, 
 SERVICING                         NORTGHLENN, CO 80234             PC 
 PO BOX 10826                                                       1827 FEDERAL BLVD 
 GREENVILLE, SC 29603‐0826                                          DENVER, CO 80204     
                                                                     
 THE CORPORATION SERVICE           ANKITA GUPTA 
 COMPANY AS AGENT FOR              AIS PORTFOLIO SERVICES, LP 
 NEW PENN FINANCIAL, LLC           PO BOX 201347 
 1900 W. LITTLETON BLVD.           ARLINGTON, TX 76006 
 LITTLETON, CO 80120 
                                                                     
  
 Dated: June 29, 2018                                By: /s/ Anita S. 
                                                     Chapter 13/Staff Member 
                                                              
  




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